                     UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                             DOCKET NO. 5:10CR2-RLV

UNITED STATES OF AMERICA                      )
                                              )
                                              )
              v.                              )
                                              )            ORDER
(1) TAMATHA M. HILTON,                        )
(2) JIMMY EARL HILTON,                        )
(3) JACQUELINE H. HILTON,                     )
                                              )
                      Defendants.             )
                                              )

       THIS MATTER is before the Court on the Government’s Motion to Dismiss certain real
properties from the Money Judgment and Preliminary Order of Forfeiture. (Dkt. 158)
       The Government represents that there is insufficient equity in the subject properties to
warrant completing forfeiture.
       For good cause shown, IT IS THEREFORE ORDERED THAT the following properties
are hereby dismissed from the Money Judgment and Preliminary Order of Forfeiture (Dkt. 112):

       Real property at 2420 Central Drive, Lenoir, North Carolina, more particularly
       described in a deed recorded at Book 1176, Page 677, in the Caldwell County Public
       Registry; and

       Real Property at 5940 Melrose Lane, Granite Falls, North Carolina, more particularly
       described in a deed recorded at Book 1648, Page 1158, in the Caldwell County Public
       Registry.

                                              Signed: May 31, 2011




    Case 5:10-cr-00002-RLV-DSC          Document 188       Filed 06/01/11     Page 1 of 1
